                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     NORTHERN DIVISION

   CORA GOUDY,

        Plaintiff,

   v.                                                CASE NO.:

   VANDERBILT MORTGAGE AND
   FINANCE, INC.,

        Defendant.
                                         /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, Plaintiff, Cora Goudy, by and through the undersigned counsel,

  and sues Defendant, VANDERBILT MORTGAGE AND FINANCE, INC., and in support

  thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47

  U.S.C. § 227 et seq. (“TCPA”).

                                       INTRODUCTION

             1.      The TCPA was enacted to prevent companies like Defendant from

   invading American citizen’s privacy and to prevent abusive “robo-calls.”

             2.      “The TCPA is designed to protect individual consumers from receiving

   intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

   (2012).

             3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

   scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

   at night; they force the sick and elderly out of bed; they hound us until we want to rip the



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   telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

   intended to give telephone subscribers another option: telling the autodialers to simply

   stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

           4.        According     to   the   Federal   Communications    Commission     (FCC),

   “Unwanted calls are far and away the biggest consumer complaint to the FCC with over

   200,000 complaints each year – around 60 percent of all the complaints…Some private

   analyses estimate that U.S. consumers received approximately 2.4 billion robocalls per

   month        in   2016.”      https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-

   robocalls-spoofing.

                                   JURISDICTION AND VENUE


            5.       Jurisdiction and venue for purposes of this action are appropriate and

   conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

   violations of the TCPA.

            6.       Subject matter jurisdiction, federal question jurisdiction, for purposes of

   this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

   district courts shall have original jurisdiction of all civil actions arising under the

   Constitution, laws, or treaties of the United States; and this action involves violations of

   47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

   and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

           7.        The alleged violations described herein occurred in Covington County,

   Mississippi.




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          8.      Defendant is a corporation which was formed in Tennessee with its

   principal place of business located at 500 Alcoa Trail, P.O. BOX 4098, Maryville,

   Tennessee 37804. Accordingly, venue is appropriate with this Court under 28 U.S.C.

   §1391(b)(1), as it is the judicial district in which Defendant resides.

                                 FACTUAL ALLEGATIONS

          9.      Plaintiff is a natural person, and citizen of the State of Mississippi,

   residing in the city of Collins, Covington County.

          10.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

   F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

   Cir. 2014).

          11.     Defendant is a corporation which was formed in Tennessee with its

   principal place of business located at 500 Alcoa Trail, P.O. BOX 4098, Maryville,

   Tennessee 37804 and which conducts business in the state of Mississippi.

          12.     Defendant called Plaintiff approximately nine hundred (900) times in an

   attempt to collect on a consumer loan.

          13.     Some or all of the calls Defendant made to Plaintiff’s cellular telephone

   number were made using an “automatic telephone dialing system” which has the capacity

   to store or produce telephone numbers to be called, using a random or sequential number

   generator (including but not limited to a predictive dialer) or an artificial or prerecorded

   voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

   “autodialer calls”). Plaintiff will testify that her knew it was an autodialer because of the




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   vast number of calls she received and because she heard a pause when she answered her

   phone before a voice came on the line.

           14.    Plaintiff believes the calls were made using equipment which has the

   capacity to store numbers to be called and to dial such numbers automatically.

           15.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

   number (601) *** -1347, and was the called party and recipient of Defendant’s calls.

           16.    Defendant placed an exorbitant number of automated calls to Plaintiff’s

   cellular telephone (601) *** -1347 in an attempt to collect on a consumer loan.

           17.    Upon receipt of the calls from Defendant, Plaintiff identified the telephone

   number on his caller ID as a Vanderbilt Mortgage and Finance, Inc. number. Plaintiff was

   familiar with this number due to the high number of telephone calls she received from

   Defendant.

           18.    On several occasions over the last four (4) years, Plaintiff instructed

   Defendant’s agent(s) to stop calling her cellular telephone.

           19.    On or about January 2016, Plaintiff communicated with Defendant from

   her aforementioned cellular telephone number and instructed Defendant’s agent to cease

   calling her.

           20.    Each subsequent call Defendant made to Plaintiffs aforementioned cellular

   telephone number was knowing and willful and done so without the “express consent” of

   Plaintiff.

           21.    In or about May 2017, Plaintiff answered another call from Defendant to

   her aforementioned cellular telephone number. Plaintiff spoke to an agent/representative



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   of Defendant and explained to them that she was ill and that they needed to stop calling

   and harassing her cellular telephone number.

          22.     Despite clearly and unequivocally revoking any consent Defendant may

   have believed they had to call Plaintiff on her cellular telephone, Defendant continues to

   place automated calls to Plaintiff.

          23.     Plaintiffs numerous conversations with Defendant agents/representatives

   over the telephone wherein she demanded a cessation of calls were in vain as Defendant

   continues to bombard her with automated calls unabated.

          24.     Defendant intentionally harassed and abused Plaintiff on numerous

   occasions by calling several times during one day, and on back to back days, which such

   frequency as can reasonably be expected to harass.

          25.     Defendant has a corporate policy to use an automatic telephone dialing

   system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

   cellular telephone in this case.

          26.     Defendant has a corporate policy to use an automatic telephone dialing

   system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

   telephone in this case, with no way for the consumer, or Defendant, to remove the

   number.

          27.     Defendant’s corporate policy is structured so as to continue to call

   individuals like Plaintiff, despite these individuals explaining to Defendant they do not

   wish to be called.




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           28.    Defendant has numerous other federal lawsuits pending against them

   alleging similar violations as stated in this Complaint.

           29.    Defendant has numerous complaints against it across the country asserting

   that its automatic telephone dialing system continues to call despite being requested to

   stop.

           30.    Defendant has had numerous complaints against it from consumers across

   the country asking to not be called, however Defendant continues to call these

   individuals.

           31.    Defendant’s corporate policy provided no means for Plaintiff to have

   Plaintiff’s number removed from Defendant call list.

           32.    Defendant has a corporate policy to harass and abuse individuals despite

   actual knowledge the called parties do not wish to be called.

           33.    Not one of Defendant’s telephone calls placed to Plaintiff were for

   “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

           34.    Defendant willfully and/or knowingly violated the TCPA with respect to

   Plaintiff.

           35.    From each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

   upon her right of seclusion.

           36.    From each and every call without express consent placed by Defendant to

   Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular




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   telephone line and cellular phone by unwelcome calls, making the phone unavailable for

   legitimate callers or outgoing calls while the phone was ringing from Defendant call.

          37.     From each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

   For calls she answered, the time she spent on the call was unnecessary as she repeatedly

   asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

   unlock the phone and deal with missed call notifications and call logs that reflect the

   unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

   phone, which are designed to inform the user of important missed communications.

          38.     Each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the

   Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

   answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

   phone and deal with missed call notifications and call logs that reflected the unwanted

   calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

   which are designed to inform the user of important missed communications.

          39.     Each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

   phone’s battery power.

          40.     Each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

   phone or network.



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           41.     Each and every call placed without express consent by Defendant to

   Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her

   cellular phone and her cellular phone services.

           42.     As a result of the calls described above, Plaintiff suffered an invasion of

   privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

   nervousness, embarrassment, distress and aggravation.

                                                COUNT I

                                    (Violation of the TCPA)

           43.     Plaintiff fully incorporates and realleges paragraphs 1 through 42 as if

   fully set forth herein.

           44.     Defendant willfully violated the TCPA with respect to Plaintiff,

   specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

   Plaintiff notified Defendant that Plaintiff wished for the calls to stop

           45.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

   cellular telephone using an automatic telephone dialing system or prerecorded or artificial

   voice without Plaintiff’s prior express consent in violation of federal law, including 47

   U.S.C § 227(b)(1)(A)(iii).

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, treble damages, enjoinder from further violations of these parts and any other

   such relief the court may deem just and proper.




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                                         Respectfully submitted,


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